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               UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

H. DOE, D. DOE, C. DOE,             :
H.A. DOE, R. DOE, and
R.T. DOE,                           :

              Plaintiffs            :   CIVIL ACTION NO. 3:19-879

     v.                             :        (JUDGE MANNION)

CITY OF WILKES-BARRE and            :
ROBERT COLLINS,
                                    :
              Defendants
                                    :

                              ORDER
    In accordance with the memorandum issued this same day, IT IS

HEREBY ORDERED THAT:

    (1) The motion to dismiss plaintiffs’ third amended complaint filed on

      behalf of the defendant City of Wilkes-Barre (Doc. 78) is GRANTED

      IN PART AND DENIED IN PART.

    (2) The motion is GRANTED to the extent that all claims brought on

      behalf of plaintiffs H. Doe, C. Doe, H.A. Doe, and R. Doe are

      DISMISSED as being barred by the applicable statute of limitations.
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       (3) The motion is DENIED to the extent that defendant seeks dismissal

           of the remaining plaintiffs’ claim against the City of Wilkes-Barre.




                                      s/ Malachy E. Mannion
                                      MALACHY E. MANNION
                                      United States District Court

DATE: September 23, 2021
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